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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 CHRISTINA MAYBERRY, individually,                   )
 and on behalf of others similarly situated,         )
                                                     )
           Plaintiff,
                                                     )
 v.                                                  )
                                                       Case No. 4:15-CV-1680-CDP
                                                     )
 SSM HEALTH BUSINESSES, d/b/a
                                                     )
 SSM HOME CARE and/or
                                                     )
 SSM HEALTH AT HOME,
                                                     )
           Defendant.                                )


                            JUDGMENT AND ORDER
            GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT

       A final approval hearing was held on this matter on March 23, 2018. Due and adequate

notice having been given to the Settlement Class Members, and the Court having considered the

Class Action Settlement Agreement, all papers filed, all proceedings had herein, and all oral and

written comments received regarding the Class Action Settlement,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:

      1. The Court has jurisdiction over the subject matter of the litigation and the parties to this

lawsuit.

      2. The Court finds that the distribution of the Class Notice, Claims Form, Opt-in Consent

Form, and Request for Exclusion (collectively “Class Packet”) was consistent with the provisions

of the Class Action Settlement Agreement, constituted the best notice practicable under the

circumstances, and fully met the requirements of due process under the United States Constitution.

      3. The Court hereby finally approves of the Class Action Settlement, as set forth in the Class

Action Settlement Agreement pursuant to the Fair Labor Standards Act and Fed. R. Civ. P. 23.




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      4. Solely for the purposes of effectuating this settlement, this Court hereby finally certifies

a class of all FLSA Settlement Class members, and a class of State Law Settlement Class members,

as those terms are defined in the Class Action Settlement Agreement.

      5. With respect to the State Law Settlement Class, this Court finds and concludes that:

        a. the members of the State Law Settlement Class are ascertainable and so numerous that

joinder of all members is impractible;

        b. there are questions of law for fact common to the State Law Settlement Class Members,

and there is a well-defined community of interest amount the State Law Settlement Class Members

with respect to the subject matter of this litigation;

        c. the claims of the Class Representative are typical of the claims of the State Law

Settlement Class;

        d. the Class Representative has fairly and adequately protected the interests of the State

Law Settlement Class;

        e. Class Counsel is qualified to serve as counsel for the Class Representative and the State

Law Settlement Class; and

        f. a class action is superior to other available methods for an efficient adjudication of this

controversy and common issues predominate over individual issues.

      6. With respect to the FLSA Settlement Class, and for purposes of approving this settlement

only, this Court finds and concludes that the Opt-In members of the FLSA Settlement Class are

similarly situated. The Court further finds that the settlement is a fair, reasonable, and adequate

compromise of a bona fide dispute under the FLSA. The Court further finds that releases and other

terms contained in the Class Action Settlement Agreement to be fair, just, reasonable, and adequate

as to the Opt-In members of the FLSA Settlement Class. Accordingly, by this Judgment, the Opt-




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In members of the FLSA Settlement Class shall release, relinquish, and discharge, and each of the

Opt-In members of the FLSA Settlement Class shall be deemed to have, and by operation of the

Judgment shall have, fully, finally, and forever released, relinquished, and discharged all claims

as described in Section XII of the Class Action Settlement Agreement, entitled “Release by

Settlement Classes,” and as described in the Opt-In Form attached to the Settlement Agreement.

     7. Neither the Class Action Settlement Agreement nor any act performed or document

executed pursuant to or in furtherance of the settlement: (i) is or may be deemed to be, or may be

used as an admission of, or evidence of, the validity of any claim covered by the Release by the

Settlement Classes, or of any wrongdoing or liability of Defendant; or (ii) is or may be deemed to

be or may be used as an admission of, or evidence of, any fault or omission of Defendant in any

civil, criminal, or administrative proceeding in any court, administrative agency, or other tribunal.

Defendant may file the Class Action Settlement Agreement and/or the Class Action Judgment

from this litigation in any other action that may be brought against it in order to support a defense

or counterclaim based on principles of res judicata, collateral estoppel, release, waiver, good faith

settlement, judgment bar or reduction, or any theory of claim preclusion or issue preclusion, or

any other similar defense or counterclaim.

     8. The Parties are directed to act in accordance with the terms set forth in the Class Action

Settlement Agreement. Defendant is directed to issue the Distributions and Settlement Payments

to the Class Representative, the current Opt-In Plaintiffs, the FLSA Settlement Class Members,

and the State Law Settlement Class Members consistent with the terms of the Class Action

Settlement Agreement.

     9. In addition, the Parties have agreed that, subject to the Court’s approval, Class Counsel

shall be paid for their reasonable attorneys’ fees from the Gross Settlement Sum, in the amount




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specified in the Class Action Settlement Agreement. The Court hereby approves such attorneys’

fees in the maximum amount specified in the Class Action Settlement Agreement. Furthermore,

the enhancement awards for the Class Representative and certain Opt-In Plaintiffs, set forth in the

Class Action Settlement Agreement, are hereby approved and Defendant is directed to cause such

payments to be issued. All payments due to be made by Defendant pursuant to the Class Action

Settlement Agreement shall be made by Defendant.

     10. This matter is hereby dismissed with prejudice.

     11. This document shall constitute a judgment for purposes of Rule 58 of the Federal Rules

of Civil Procedure.




SO ORDERED March _____, 2018:




HONORABLE CATHERINE D. PERRY
UNITED STATES DISTRICT COURT




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